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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


 KEITH HOBBS, individually and on behalf
 of all others similarly situated,
                                                    Case No. 1:19-cv-10408-NMG
                        Plaintiff,
      v.
 COMMONWEALTH SERVICING
 GROUP, LLC, a Massachusetts limited
 liability company, and DMB FINANCIAL,
 LLC, a Massachusetts limited liability
 company,
                        Defendants.


       MOTION FOR PRO HAC VICE ADMISSION OF STEVEN L. WOODROW

        Pursuant to Local Rule 83.5.3, the undersigned counsel, J. Steven Foley, hereby moves

the Court to enter an Order granting leave to Steven L. Woodrow to appear pro hac vice on

behalf of Plaintiff Keith Hobbs (“Plaintiff” or “Hobbs”) and the alleged class in the above-

captioned action. In support of this Motion, the undersigned states as follows:

        1.      Steven L. Woodrow has been a member in good standing of the bar of the State of

Illinois since 2005 and of the State of Colorado since 2011. Mr. Woodrow is also a member in

good standing of the following courts: U.S. Court of Appeals for the Seventh Circuit, U.S. Court

of Appeals for the Ninth Circuit, U.S. District Court for the District of Colorado, U.S. District

Court for the Northern District of Illinois, U.S. District Court for the Eastern District of

Michigan, U.S. District Court for the Western District of Michigan, U.S. District Court for the

District of New Mexico, and U.S. District Court for the Western District of Wisconsin.

        2.      There are no disciplinary proceedings pending against Mr. Woodrow in any

jurisdiction.
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       3.      Mr. Woodrow has represented that he has reviewed and is familiar with the Local

Rules of this Court.

       4.      Mr. Woodrow has drafted and submitted a Certification for Admission Pro Hac

Vice, as required.

                CERTIFICATION PURSUANT TO LOCAL RULE 7.1(A)(2)

       Counsel for Plaintiff has conferred with counsel for the Defendants and has been advised

that Defendants do not oppose the relief sought.

                                             Respectfully submitted,

Dated: April 23, 2019                By: __/s/ J. Steven Foley____
                                     One of Plaintiff’s Attorneys

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                                             *Seeking pro hac vice admission




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                                 CERTIFICATE OF SERVICE

       I hereby certify that the above papers were filed through the Court’s ECF system, which

will serve the papers electronically to all counsel of record.



                                               /s/ J. Steven Foley




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